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        11
                                      UNITED STATES DISTRICT COURT
        12
                              FOR THE CENTRAL DISTRICT OF CALIFORNIA
        13
        14     AIRDOCTOR, LLC, a Delaware Limited            CASE NO. 2:22-cv-05784-GW(ASx)
               Liability Company,
        15
                               Plaintiff,       REQUEST TO CLERK FOR ENTRY
        16                                      OF DEFAULT AS TO DEFENDANT
                   v.
        17                                      XIAMEN QICHUANG TRADE CO.,
               XIAMEN QICHUANG TRADE CO., LTD., LTD.
        18
                               Defendants.
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EPSTEIN                                                                     CASE NO. 2:22-cv-05784-GW(ASx)
DRANGEL LLP
                                                    STATUS REPORT
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          1         Pursuant to Rule 55 of the Federal Rules of Civil Procedure, Plaintiff AirDoctor,
          2 LLC (“Plaintiff” or “AirDoctor”) requests that the Clerk of the above-entitled court enter
          3 the default of Defendant Xiamen Qichuang Trade Co., Ltd. (“Defendant”) for failure to
          4 plead or otherwise defend against this action in a timely manner.
          5         As set forth in the proof of service filed with Court, on June 13, 2023, the Court
          6 granted Plaintiff’s application for an order authorizing service of process under Fed. R.
          7 Civ. P. 4(F)(3). See Dkt. 27. On April 21, 2023, Plaintiff attempted to serve the summons
          8 and complaint on Defendant via direct message through Defendant’s Amazon account,
          9 however, upon information and belief, Amazon deleted the message and Plaintiff was
        10 unable to determine whether the message containing the pleadings was delivered.
        11 Thereafter, on April 24, 2023, Plaintiff successfully sent a message to the Defendant again
        12 notifying Defendant of this action, but Plaintiff was unable to attach documents to the
        13 Amazon message. On April 26, 2023, Plaintiff sent an email containing the summons,
        14 complaint and all case opening documents to Michael L. Bartholomew, Kunzler, Bean &
        15 Adamson, Defendant’s attorney of record on Defendant’s registered trademark, and on
        16 the same date, Plaintiff sent the summons and complaint out for service on the Director
        17 of the USPTO in accordance with the Court’s order, which was successfully delivered on
        18 May 1, 2023. See Dkt. No. 32.
        19          Accordingly, service was complete on May 1, 2023. The applicable time limit for
        20 Defendant to appear or otherwise respond to this action expired on May 22, 2023.
        21 Defendant has failed to appear or otherwise file a responsive pleading. See Declaration of
        22 Peter J. Farnese (“Farnese Decl.”) at ¶5.
        23          Defendant is not a minor or incompetent person, thus the entry of default against it
        24 is not barred by Fed. R. Civ. P. 55(b)(1). Farnese Decl. at ¶6.
        25          Accordingly, default should be entered against Defendant pursuant to Fed. R. Civ.
        26 P. 55(a).
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EPSTEIN
DRANGEL LLP
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                                           REQUEST FOR ENTRY OF DEFAULT
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          1 DATED: June 21, 2023                 EPSTEIN DRANGEL LLP
          2
                                                 By:   s/ Peter J. Farnese
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DRANGEL LLP
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                                         REQUEST FOR ENTRY OF DEFAULT
